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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

JOE HAND PROMOTIONS, INC.,                             §
                                                       §
                Plaintiff,                             §
                                                       §
v.                                                     §                    1:23-CV-1438-RP
                                                       §
MGM AFFAIR, LLC, d/b/a                                 §
DETOUR DOMAIN, d/b/a                                   §
DETOUR, d/b/a DETOUR                                   §
DOMAIN NEIGHBORHOOD BAR,                               §
and MICHAEL A. SANCHEZ,                                §
                                                       §
                Defendants.                            §

                                                 ORDER

        Before the Court is the report and recommendation from United States Magistrate Judge

Dustin Howell concerning Plaintiff’s Motion for Default Judgment, (Dkt. 9). (R. & R., Dkt. 10).

Pursuant to 28 U.S.C. § 636(b) and Rule 1(d) of Appendix C of the Local Rules of the United States

District Court for the Western District of Texas, Judge Howell issued his report and

recommendation on October 21, 2024. (Id.). As of the date of this order, no party has filed

objections to the report and recommendation.

        Pursuant to 28 U.S.C. § 636(b), a party may serve and file specific, written objections to a

magistrate judge’s proposed findings and recommendations within fourteen days after being served

with a copy of the report and recommendation and, in doing so, secure de novo review by the

district court. When no objections are timely filed, a district court can review the magistrate’s report

and recommendation for clear error. See Fed. R. Civ. P. 72 advisory committee’s note (“When no

timely objection is filed, the [district] court need only satisfy itself that there is no clear error on the

face of the record in order to accept the recommendation.”).




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       Because no party has filed timely objections, the Court reviews the report and

recommendation for clear error. Having done so and finding no clear error, the Court accepts and

adopts the report and recommendation as its own order.

       Accordingly, the Court ORDERS that the Report and Recommendation of the United

States Magistrate Judge, (Dkt. 10), is ADOPTED. Plaintiff’s motion for default judgment, (Dkt. 9),

is GRANTED. IT IS ORDERED that default judgment is entered against each Defendant and

that Joe Hand Promotions, Inc. is awarded $7,196 in statutory damages, $2,250 in attorneys’ fees,

$641.00 in costs, and postjudgment interest pursuant to 28 U.S.C. § 1961.

       The Court will enter final judgment by separate order.

       SIGNED on December 20, 2024.




                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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